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1                                    UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3        TY THOMAS,
4                                                             3:18-cv-0464-MMD-CLB
                                        Plaintiffs,
5          v.
                                                              ORDER
6        JAMES DZURENDA, et al.,
7
                                     Defendants.
8

9            On September 27, 2019, Adam Hosmer-Henner, Esq., Philip Mannelly, Esq., Chelsea
10   Latino, Esq., and Philip Mannelly, Esq. of McDonald Carano LLP and Margaret McLetchie,
11   Esq. and Alina Shell, Esq. of McLetchie Law accepted the pro bono assignment of this case
12   together with a group of other related cases (ECF No. 12). However, Plaintiff engaged other
13   counsel and Ryan Hamilton, Esq. of Hamilton Law LLC entered a formal notice of
14   appearance on behalf of the plaintiff (ECF No. 23).1
15           Therefore, the Clerk shall remove the following attorneys from the docket in this action:

16   Adam Hosmer-Henner, Alina Shell, Chelsea Latino, Margaret McLetchie, and Philip

17   Mannelly.

18           The stay of this action is hereby lifted. The court will contact counsel to set this case

19   for an inmate mediation conference.

20              DATED: January 12, 2020.

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22                                                    ______________________________________
                                                      UNITED STATES MAGISTRATE JUDGE
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      In the interim, plaintiff was also represented by Timothy Treffinger from January to June 2020 (ECF Nos. 18
27   & 22).

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